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                               United States District Court
                               Eastern District of Michigan
                                    Southern Division

 United States of America,

                       Plaintiff,               Case No. 15-CR-20382

        v.                                      Honorable Victoria A. Roberts
                                                Magistrate Judge Elizabeth Stafford
 D-1 Paul Nicoletti,

                Defendant.
 _________________________/

   Government’s Renewed Motion to Dismiss or Defer Defendant’s
      Motion to Vacate under 28 U.S.C. § 2255 [ECF No. 195]

       The United States of America again respectfully moves this Court to dismiss

 as premature Defendant’s Motion to Vacate or, in the alternative, defer

 consideration and extend the government’s response date until July 30, 2021,

 because of Defendant’s decision to seek rehearing en banc in the Sixth Circuit

 Court of Appeals, and for the other reasons set forth in the supporting brief.

                                          Respectfully submitted,

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                               United States District Court
                               Eastern District of Michigan
                                    Southern Division


 United States of America,

                       Plaintiff,                Case No. 15-CR-20382

        v.                                       Honorable Victoria A. Roberts
                                                 Magistrate Judge Elizabeth Stafford
 D-1 Paul Nicoletti,

                Defendant.
 _________________________/


Government’s Brief in Support of Renewed Motion to Dismiss or Defer
 Defendant’s Motion to Vacate under 28 U.S.C. § 2255 [ECF No. 195]


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                                            Statement of the Issue

          Should the Court dismiss or defer consideration of Nicoletti’s Motion to

 Vacate under 28 U.S.C. § 2255 while his case is on direct appeal?

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                       Introduction and Procedural Posture

       Nicoletti improperly filed his Motion to Vacate while this case was on direct

 appeal and the government moved to dismiss it. Shortly after the government’s

 motion was filed, the Court of Appeals unanimously affirmed his conviction.

 Because Nicoletti’s appeal appeared to have been concluded by this decision, this

 Court denied the government’s motion as moot. But Nicoletti has since decided to

 petition the Court of Appeals for rehearing en banc, and he sought and received an

 extension to file that petition. Because his direct appeal thus remains active and

 open in the Sixth Circuit Court of Appeals, the United States respectfully renews

 its motion to dismiss Nicoletti’s Motion to Vacate. Alternatively, the government

 asks that the Court defer consideration of that motion, and extend the government’s

 response date to July 30, 2021.

                          Relevant Chronology and Facts

       Nicoletti filed a Motion to Vacate under 28 U.S.C. § 2255 on February 1,

 2021 (ECF No. 195) while the case was on direct appeal. (United States v. Paul

 Nicoletti, No. 20-1137 (6th Cir.)). He filed the motion pro se, although represented

 by counsel both in this Court and in the Court of Appeals. (See, ECF. No. 200:

 Government’s Motion to Dismiss or Defer Defendant’s Motion to Vacate). On

 March 11, 2021, this Court ordered that the government respond to the Motion to

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 Vacate by March 19, 2021. (Docket Entry for March 11, 20021). On March 12,

 2021, the government filed its Motion to Dismiss or Defer Defendant’s Motion to

 Vacate, arguing that it was improperly filed because it was filed while the case was

 on direct appeal and because it was filed pro se while Nicoletti was represented.

 (ECF No. 200: Motion). On March 18, 2021, a panel of the Court of Appeals

 unanimously affirmed Nicoletti’s conviction. (United States v. Paul Nicoletti, No.

 20-1137, Doc.#48-2 (6th Cir.)). Because it appeared that the Court of Appeals case

 was final, this Court, on March 19, 2021, entered an order denying the

 government’s motion to dismiss as moot but, recognizing the need for additional

 time, granted the government’s motion to revise the briefing schedule, requiring a

 response by May 18, 2021 (ECF No. 203, PageID. 3393-94).

       On March 29, 2021, the government learned from Nicoletti’s appellate

 counsel, Tyler Yarbro, that Nicoletti would be filing a Petition for Rehearing En

 Banc in the Court of Appeals and agreed to her request for an extension of the due

 date for filing such a petition from April 1, 2021 to May 3, 2021, which the Court

 of Appeals granted. (United States v. Paul Nicoletti, 20-1137, Doc.#50: Ruling

 Letter). This case thus remains on direct appeal until that petition is resolved.

       Nicoletti’s Motion to Vacate remains pending, however, and raises, among

 other things, issues of ineffective assistance of counsel by two of Nicoletti’s prior

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 counsel. The motion assigns numerous errors to his trial counsel and a previous

 attorney, specifically, the “failure” to issue trial subpoenas (ECF No. 195, PageID.

 3310-3311, ECF No. 195, PageID. 3319-3323), the failure to object to at least 70

 of the government’s proposed exhibits prior to trial (ECF No. 195, PageID. 3311;

 ECF No. 195, PageID. 3330-3331), the stipulation to admit government exhibits

 despite express instructions to the contrary (ECF No. 195, PageID. 3327-3329), the

 failure to object to at least 11 proposed jury instructions despite express email

 instructions (ECF No. 195, PageID. 3311; ECF No. 195, PageID. 3324), failure to

 object to the admission of audio tapes (ECF No. 195, PageID. 3313), failure to

 cross-examine a witness as Nicoletti desired (ECF No. 195, PageID. 3314), and

 refusal to present an audit report as evidence and cross examine witnesses with that

 report. (ECF No. 195, PageID. 3315).

       On March 30, 2021, the government contacted trial counsel and one of

 Nicoletti’s pretrial attorneys by email, who agreed to carefully review Nicoletti’s

 Motion to Vacate and meet with the undersigned Assistant United States Attorney

 thereafter about Nicoletti’s charges of ineffective assistance of counsel. Those

 meetings have yet to be scheduled. The nature of the allegations may require

 findings by the Court about attorney-client privilege waivers (in the absence of

 voluntary disclosure by defense counsel), the scope of such waivers, and,

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 potentially, an expansion of the record under Rule 7 of the Rules Governing

 Section 2255 Proceedings, all of which would require additional time to determine.

       On March 30, 2012, the government sought concurrence in this motion from

 Nicoletti through his counsel, Paul Stablein, and on April 12, 2021, Mr. Stablein

 advised in an email that he does not represent Nicoletti in the Motion to Vacate,

 but that Nicoletti would not stipulate to any extension unless the government

 agreed to a series of conditions which it finds unacceptable.

       For the reasons set out in the government’s original Motion to Dismiss or

 Defer Defendant’s Motion to Vacate under 28 U.S.C. § 2255 (ECF No. 200), much

 of which is reiterated here for the Court’s convenience, Nicoletti’s Motion to

 Vacate should be dismissed, or, in the alternative, deferred and the government’s

 response date delayed until July 30, 2021 in light of the nature and quantity of the

 allegations the motion contains.

                                      Argument

              1. Nicoletti’s Motion to Vacate should be dismissed
                 because it is premature.

       The Sixth Circuit “adopt[ed] the rule espoused by multiple Circuits that in

 the absence of extraordinary circumstances, a district court is precluded from

 considering a § 2255 application for relief during the pendency of the applicant's

 direct appeal.” Capaldi v. Pontesso, 135 F.3d 1122, 1124 (6th Cir.1998) (collecting
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 cases); see also Smith v. United States, No. 95–3980, 1996 WL 330864, at *1 (6th

 Cir. June 14, 1996) (“It is true that the ‘well established general rule is that, absent

 extraordinary circumstances, the district court should not consider § 2255 motions

 while a direct appeal is pending.’” (citation omitted)); United States v. Robinson,

 8 F.3d 398, 405 (7th Cir.1993) (collecting cases); R. Governing § 2255

 Proceedings 5 advisory committee's note (although “there is no jurisdictional bar to

 the District Court's entertaining a Section 2255 motion during the pendency of a

 direct appeal[,] ... the orderly administration of criminal law precludes considering

 such a motion absent extraordinary circumstances”). This rule is grounded in the

 principle, oft repeated, that “[a]n application under § 2255 is an extraordinary

 remedy and should not be considered a substitute for direct appeal,” as well as

 judicial economy, in that “determination of the direct appeal may render collateral

 attack by way of a § 2255 application unnecessary.” Capaldi, 135 F.3d at 1124; see

 also Robinson, 8 F.3d at 405 (“The rationale for the rule is a sound one: the

 disposition of the appeal may render the § 2255 motion moot.” Moreover, “[t]his

 rule holds true even for claims of ineffective assistance of counsel, which may

 normally not be brought on direct appeal.” Smith, 1996 WL 330864, at *1; see also

 Robinson, 8 F.3d at 405 (“ Section 2255 motions, involving ineffective assistance

 of counsel claims, are subject to the same general rule as all other § 2255 motions;

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  they are not to be entertained by the district court unless extraordinary

  circumstances are present.”).

        Various judges in this Circuit and district have applied the “Calpaldi rule” to

  dismiss 2255 petitions filed while the applicants’ cases were on direct appeal. See,

  e.g., United States v Wright, No. 6:17-cr-43-REW-3, 2019 WL 4863488 (E.D.

  Kentucky July 11, 2019, Wier, J.); United States v. Jones, No. 1:13-cr-7, 2014 WL

  1292503128 U.S.C. § 2255 (W.D. Michigan November 14, 2014, Neff, J.); United

  States v. Hills, No. 12-12254, 2014 WL 1400815 (E.D. Michigan April 9, 2014,

  Cox, J.); United States v. Rogers, No. 11-20749, 2014 WL117317 (E.D. Michigan

  January 13, 2014, Zatkoff, J.).

        There can be no doubt that this case remains on direct appeal in light of

  Nicoletti’s decision to petition for rehearing en banc and the Court of Appeals

  grant of additional time to file it. (United States v. Nicoletti¸ No. 20-1137, Doc.

  No. 50: Ruling Letter). Nicoletti offers no “extraordinary circumstances” which

  would warrant any exception to the “Capaldi rule.” Thus, the present motion

  should be dismissed as premature. Should the Court of Appeals deny rehearing en

  banc, or affirm his conviction after rehearing, Nicoletti would be free to refile a

  petition under 28 U.S.C. § 2255.



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               2. Nicoletti’s Motion to Vacate should be dismissed
                  because it was filed pro se while Nicoletti was fully
                  represented by counsel.

        Nicoletti has counsel of record, Paul J. Stablein, in this Court, who has

  represented him at sentencing and in various post-judgment proceedings pertaining

  to Nicoletti’s sentence and surrender date. Mr. Stablein has never withdrawn and

  has arranged numerous extensions of Nicoletti’s Bureau of Prisons report date with

  the government. Nicoletti also has appellate counsel while he pursues his direct

  appeal. Nicoletti has never formally sought to represent himself in his own defense

  in this court and, thus, no Faretta colloquy was ever undertaken, and the Court has

  never formally passed on Nicoletti’s competence to represent himself in this case.

  Thus, Nicoletti is attempting to proceed in a “hybrid” fashion, both through his

  counsel and pro se by way of this motion. See McKaskle v. Wiggins, 465 U.S. 168,

  183 (1984). (Although the Sixth Amendment guarantees defendants the right to

  conduct their own defense and even represent themselves, the right of self-

  representation does not include the right to proceed in a hybrid manner). See also,

  United States v. Mosely, 810 F.2d 93, 97–98 (6th Cir.1987) (hybrid representation

  properly disallowed in a trial setting for a defendant who was both a lawyer and a

  judge).

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        Nicoletti was well aware of this Court’s rule against hybrid representation,

  as he had previously been directly admonished about it, and this Court struck

  several of his pro se pleadings from the record, in part, for that reason. See, ECF

  No.87, PageID. 833: Order Striking Motions). While Nicoletti is fully represented,

  this Court should not accept pro se pleadings, and his Motion to Vacate should be

  no exception.

               3. Alternatively, due to the nature and quantity of
                  the allegations in this case, the Court should grant
                  the government’s request for an additional 60
                  days to respond.

        Even if the Court allows Nicoletti’s Motion to Vacate to stand, the

  government respectfully requests additional time to respond. As noted above, the

  motion accuses two of Nicoletti’s attorneys of ineffective assistance and raises

  over 80 claims of error in representation. Such allegations require careful review

  and analysis, as well as input from accused counsel. They may also raise

  complicated questions pertaining to attorney-client privilege requiring guidance

  from the Court. In any event, given that Nicoletti’s Petition for Rehearing En Banc

  is not even due until May 3, 2021, it seems highly unlikely that it will even be

  decided before May 18, 2021, the date by which the government’s response is

  currently due. Under all of these circumstances, rescheduling the response date to

  July 30, 2021 is prudent and reasonable.
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  Conclusion

        For the reasons stated above, the United States respectfully requests that the

  Court deny, without prejudice, Nicoletti’s Motion to Vacate (ECF No. 195) or, in

  the alternative, defer consideration and revise its briefing schedule so as to require

  a response from the United States no earlier than July 30, 2021.

                                          Respectfully submitted,

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                           CERTIFICATE OF SERVICE

        I certify that on April 14, 2021, I electronically filed the foregoing document

  with the Clerk of Court using the CM/ECF system, which will send notification of

  such filing to the following attorney for the defendant: Paul Stablein.

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